Filed 05/14/19                                     Case 19-21640                                               Doc 39



                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF CALIFORNIA
                                          SACRAMENTO DIVISION

            In Re:                                           Case No. 19-21640

            Debora Leigh Miller-Zuranich
             aka Deborah Leigh Miller
                                                             Chapter 13
             dba Joseph J. Miller Living Trust dated
            October 8, 2007

            Debtors.                                         Judge Christopher D. Jaime

             REQUEST FOR SERVICE OF NOTICES PURSUANT TO FED.R.BANKR.P. 2002(g)

                   Please take notice that D. Anthony Sottile, as authorized agent for OCRE Investment
           Fund 1 LLC, a creditor in the above-captioned case, requests, pursuant to Rules 2002 and 9007
           of the Federal Rules of Bankruptcy Procedure and §§102(1), 342 and 1109(b) of title 11 of the
           United States Code, and 11 U.S.C. §§ 101, et seq., that all notices given or required to be given
           and all papers served or required to be served in this case also be given to and served, whether
           electronically or others on:
                     D. Anthony Sottile
                     Authorized Agent for OCRE Investment Fund 1 LLC
                     394 Wards Corner Road, Suite 180
                     Loveland, OH 45140
                     Phone: 513.444.4100
                     Email: bankruptcy@sottileandbarile.com


            Dated: May 14, 2019                              /s/ D. Anthony Sottile
                                                             D. Anthony Sottile
                                                             Authorized Agent for Creditor
                                                             Sottile & Barile, LLC
                                                             394 Wards Corner Road, Suite 180
                                                             Loveland, OH 45140
                                                             Phone: 513.444.4100
                                                             Email: bankruptcy@sottileandbarile.com
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                                            CERTIFICATE OF SERVICE

           I certify that on May 14, 2019, a copy of the foregoing Request for Service of Notices was filed
           electronically. Notice of this filing will be sent to the following party/parties through the Court’s
           ECF System. Party/Parties may access this filing through the Court’s system:

                  Office of the United States Trustee
                  (registeredaddress)@usdoj.gov

           I further certify that on May 14, 2019, a copy of the foregoing Request for Service of Notices
           was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the following:

                  Jan P. Johnson, Chapter 13 Trustee
                  PO Box 1708
                  Sacramento, CA 95812

                  Debora Leigh Miller-Zuranich, Debtor Pro Se
                  9639 Newington Way
                  Elk Grove, CA 95758

                                                               /s/ D. Anthony Sottile
                                                               D. Anthony Sottile
                                                               Authorized Agent for Creditor
                                                               Sottile & Barile, LLC
                                                               394 Wards Corner Road, Suite 180
                                                               Loveland, OH 45140
                                                               Phone: 513.444.4100
                                                               Email: bankruptcy@sottileandbarile.com
